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          IT IS ORDERED as set forth below:



           Date: June 5, 2018
                                                                  _________________________________

                                                                           Jeffery W. Cavender
                                                                      U.S. Bankruptcy Court Judge

         ________________________________________________________________



                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia
                                                  Atlanta Division


IN THE MATTER OF
Dorothy Worthy Huggins                                                      CASE NUMBER.: 15−59303−jwc
                                                                            CHAPTER: 7
                     Debtor(s),                                             JUDGE: Jeffery W. Cavender




                               ORDER GRANTING MOTION FOR EXAMINATION
                              OF DEBTOR(S) PURSUANT TO FED. R. BANK. P. 2004

The motion of Jordan E. Lubin ("Movant") for an order authorizing the examination of the Debtor or Debtors (hereinafter
"Debtor") having been read and considered, it is ORDERED that the motion is GRANTED to permit pursuant to Fed. R.
Bankr. R. 2004(b) the examination of the Debtor designated in the motion at a mutually agreed time and place. Debtor is
directed to produce at the examination any and all documents in Debtor's custody or control identified in the motion, if
any, subject to Debtor’s right to move for a protective order. If Movant and Debtor cannot agree on a mutual time and
place, Movant may amend the motion pursuant to Fed. R. Bankr. P. 2004(d) to show cause for entry of an order directing
Debtor to appear at a particular time and place.



                                               ***END OF ORDER***
Form jem−2004deb
